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           Re:         Hsu v. Puma Biotechnology, Inc., Case No. 8:15-cv-00865-DOC-SHK

Dear Tor:

       I am writing on behalf of Defendants Puma Biotechnology, Inc. and Alan H. Auerbach to
meet and confer regarding next steps in this case. Pursuant to the Court’s November 27, 2020
Order (the “Order”), Defendants are evaluating the claims listed in the claims report to determine
whether they can be placed in Group 1, Group 2, or Group 3.

        This letter addresses the 50 largest claims listed on the claims administrator’s final claims
report (ECF No. 800), specifically:

                 1)
                 2)
                 3)
                 4)
                 5)
                 6)
                 7)
                 8)
                 9)
                 10)
                 11)
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        We will provide additional information and requests on a rolling basis as our review
continues, so that the parties have sufficient time to meet and confer and attempt to resolve any
issues before March 29, 2021.

I.       RELIANCE INFORMATION

       As you are aware, consistent with Supreme Court precedent, Defendants are entitled to
rebut absent class members’ individual reliance. See Basic, Inc. v. Levinson, 485 U.S. 224
(1988); Halliburton Co. v. Erica P. John Fund, Inc. (“Halliburton II”), 573 U.S. 258 (2014);
ECF No. 739 at 2 (“Defendants haven’t had an opportunity to rebut [absent class members’]
individual reliance,” so “[i]t is not just the damages amount that has yet to be solidified for these
absent class members, but liability.”). After a review of the supporting documentation submitted


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with the largest twenty claims, we have determined that the supporting documentation does not
contain information that is relevant to determining each claimant’s individual reliance. The
information needed, as identified in Defendants’ proposed interrogatories and requests for
production submitted to the court on October 28, 2020 (ECF No. 810), includes information and
documents regarding:

             •   The identity of the person or persons, including any investment advisor, who
                 made the decision to buy or sell Puma stock from June 1, 2014, to August 13,
                 2015;

             •   The factors influencing that person’s the decision to engage in buying and selling
                 Puma stock from June 1, 2014 to August 13, 2015, including, but not limited to:
                 (1) due diligence, investigation, analysis, or evaluation of Puma securities;
                 (2) documents regarding Puma securities; and (3) communications regarding the
                 decision to engage in Puma stock;

             •   Document retention policies of both the claimant or anyone transacting in Puma
                 securities on their behalf;

             •   Whether each claimant or anyone acting on their behalf relied on the market price
                 for Puma securities when making the decision to invest in Puma securities from
                 June 1, 2014, to August 13, 2014;

             •   Documents reviewed by the claimant or anyone acting on their behalf that relate
                 to the decision to buy or sell Puma securities, including but not limited to
                 documents related to the ExteNET trial; and

             •   Any investment guidelines, rules, or policies that govern the claimant’s
                 transactions in Puma securities.

        This information is necessary to determine whether the claimants relied on the
misstatement at issue, and accordingly whether they can satisfy the elements of their claim. We
request that you collect this information from the claimants listed above and provide it to us
within thirty days so that they can assess individual reliance and, as a result, whether these
claims belong in Group 1 or Group 2, as described in the Court’s order (ECF No. 817). If you
decline to contact these claimants to seek the requested information, we request that you notify
us immediately, and further that you confirm that we may reach out to these claimants to meet
and confer with each of them directly.

II.      EVIDENTIARY/DAMAGES CALCULATION DEFICIENCIES

       Certain claimants identified above have not provided sufficient information for us to
confirm the validity or amount of their claims. The following chart identifies the information we
need for each of these claimants identified to date. Defendants are still reviewing claims,
including the claims listed below, and anticipate that additional issues will arise.




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        In parallel, we have identified additional issues for the claims administrator, to see if it is
able to resolve them in the first instance. Defendants reserve all rights on these issues, and,
should the claims administrator be unable to resolve them, will request follow-up on those claims
from you and the individual claimants.

                      CLAIMANT                               INFORMATION NEEDED
                                                    •   Additional trading records to identify /
                                                        confirm beginning and end holding
                                                        amounts. The end holding amount listed
                                                        on the trade blotter does not match up
                                                        with the number of shares transferred out
                                                        and sold prior to the end of the relevant
                                                        period.
                                                    •   Additional trading records to identify /
                                                        confirm beginning and end holding
                                                        amounts. The end holding amount listed
                                                        on the trade blotter does not match up
                                                        with the number of shares transferred out
                                                        and sold prior to the end of the relevant
                                                        period.
                                                    •   Communications and additional
                                                        documents submitted, if any, after the
                                                        claims administrator flagged that there
                                                        were “discrepancies between the
                                                        documentation and the submitted
                                                        transactions.”
                                                    •   Trading records reflecting the claimant’s
                                                        February 4, 2015 purchase of          shares




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         We look forward to hearing from you on these issues by Wednesday, February 3, 2021.

                                            Best regards,




                                            Colleen C. Smith
                                            of LATHAM & WATKINS LLP

cc:      Counsel of Record




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